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EXHIBIT “F”
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Zoran Cuple, MD

. Stefan Kreuzer, MD

es Frank A, Schroeder, MD
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Kevin Lancaster, PA-C

Memorial Bone & Joint See

Board Certified in Orthopedic Surgery

PATIENT: JOHNSON, ELTON
DOB: 01/09/88

TRANSCRIPTION REC #; 33520 - L.
REFERRING PHYSICIAN: NONE

06/23/10 INITIAL EVALUATION:

HISTORY OF PRESENT ILLNESS:
THE PATIENT WAS INJURED ON 04/20/10, He was onboard ofa supply

vessel when the BP Deepwater Horizon Oil Rig exploded. He was going
through a doorway when the rig expleded. He was thrown approximately
6 feet away. He did lose consciousness, After he regained consciousness, he
tried to help other people by pulling them up by their life jackets and this hurt
his shoulder, He was taken to Dr. McGann. No x-rays were taken. He was
given some Lortab, some anti-infammatory medications, and some muscle
relaxants, He was sent to Dr. Quinlan, who is a psychologist or a psychiatrist.
He has continued to have pain with his tight shoulder and low back. He is now
being referred to us for an orthopaedic evaluation and treatment,

The patient had a previous problem and'then surgery to his right shoulder back
in 2002, After the surgery he did get better and was even able-to play football
after the surgical procedure. He has had absolutely no problems with his
shoulder since then. He has had no previous problems with his back.

The patient comes in complaining of right shoulder pain. Anteriorly, there is
some popping in his shoulder. Any type of movement of the arm causes him

to have pain.

As far as the low back is concerned, he has pain at belt level and in the
mid line. He has no radicular pain into the lower extremities. He has some
tingling in the right leg down into the foot. He has-no left leg problems. He
has no problems with bowel or bladder. The patient did tell us that he has had
headaches and hearing problems since the accident.

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PATIENT: JOHNSON, ELTON
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ALLERGIES: | No known allergies to medications,
REVIEW OF SYSTEMS:

The patient does not have any known heart problems; high blood
pressure: lung problems; TB, diabetes; stomach problems; kidney
problems; or liver problems,

Hydrocodone, carsoprodol, clonazepam, Zoloft, and

Medications:
mirtazapine,

Surgleal History: Hernia repair In 2000 and right shoulder surgery
in 2002.

Family History: Diabetes 2nd hypertension,

Soolal History: The patiant dees not smoke. The patlant hae an
occasional drink of beer, The patient does drink
4-2 cups of ciffelnatad beverages per day,

Ganeralh: Diffisuity sleeping,

Endocrine: N/A.

Blaod/Hem: N/A,

Psychiatrie: Depression and being soen by psychlatry for other
problems.

Pulmonary: NIA.

Neurological: Headaches and hearing problems sinca tha accident.

Genitourinary: NIA,

Cardiovascular: N/A.

Gastrointestinal: N/A.

Musculoskeletal: Joint pain, back paln, joint stiffness, and weaknoss.

Incision: N/A.

Other; NA,

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PATIENT: JOHNSON, ELTON
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PHYSIGAL EXAMINATION:

The patient is 5’5" tall and he weighs 201 Ibs.

Examination of the shoulders revealed the patient to not be able to go into full
external rotation on the right side. He was able to go into full external rotation
on the left side. The Internal rotation-.was also limited on the right side.
Forward flexion was 180° on the left side and about 135° on the right side.
Abduction was 90° on the left slde amd about 70° on the right side. The
impingement sign was definitely positive. During the examination of the right
shoulder there was definitely some popping and clicking, and as the patient
called it, some crunching during the range of motion.

Examination of the lumbosacral spine revealed the patient to be
well-developed, well-nourlshed, and jn moderate low back distress. There was
some tenderness over the lumbosacral area in the mid line. There was some
tenderess over the right sacroillac joint, but not over the left side. There was
no tenderness over the sciatic notches. He was able to bend forward to about
60-70°. He could not go [nto hyperextension. The lateral motion was
somewhat limited as well. He did have seme spasm, mainly on the right side.

The patient had a normal heel-to-toe gait. The patient was able to hee! walk
and tos walk with difficulty. The deep tendon reflexes at the achilles and
patellar areas were present and equal bilaterally. The extensor halluces
longus, anterior tibialis, posterior tibialls, and peroneals were of comparable
strength, bilaterally. The straight-leg raising test was positive on the right side
at about 60° and on the left side at about 60-70°. The vascular examination
was within normal limits and showed good pulses in both lower extremities.

Examination of both hips revealed the patient to have a full range of motion.
There was full rotation, good flexion, good extension, good abduction, and
good adduction of both hips. There was no tenderness in the groin area. All
the motions tested were painless.

Examination of both knees revealed the patient to have full flexion and full
extension. There was no ligamentous laxity, either medially or laterally. There

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PATIENT: JOHNSON, ELTON
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was no medial or fatera! joint line tenderness. No major swelling could be
elicited, ,

X-RAYS:

X-rays of the right shoulder, two views taken, did not reveal any obvious
evidence of fractures, dislocation, bony neoplasm, or calcifications.

X-rays of the lumbosacral spine, five views taken, revealed no congenital
anomalies. There was no evidence of spondylolysis or spondylolisthesis.
There was no evidence of trauma to the bony parts of the lumbar spine. There
was no evidence of an arthritic or degenerative process,

X-rays of the pelvis, one view taken, beth hip joints and both sacroiliac joints
did not reveal any major abnormalities. There was no evidence of fracture,
dislocation, bony neoplasm or calcifications.

DIAGNOSIS:

1) LUMBOSACRAL STRAIN.

2) POSSIBLE HERNIATED NUCLEUS PULPOSUS OF THE
LUMBOSACRAL SPINE.

3) TRAUMATIC IMPINGEMENT SYNDROME OF THE RIGHT
SHOULDER.

4) POSSIBLE TEAR OF THE RIGHT ROTATOR CUFF.

5) PREVIOUS ARTHROSCOPIC SURGERY OF THE RIGHT SHOULDER
IN 2002.

RECOMMENDATIONS & TREATMENT PLAN:

1. The patient was started on Medrol Dosepack, to be followed by Celebrex
200 mg once a day for the anti-inflammatory effect.

The patient was warned about the interaction that can occur between
alcohol and medications,

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PATIENT: JOHNSON, ELTON
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2. The patient was given a back booklet so that he can Jearn the exercises
and learn how to care for his back properly. The exercises in the
booklet are to be learned and used at home,

He is to be given a Thermophore heating pad, to be used in between the
exercise sessions to apply heat to the back in order to lessen the

spasm.

3, | explained to the patient that the x-rays did not show any major
abnormalities, but that the x-rays only show us bones, There could be
many different things wrong with the soft tissues; such as muscles,
ligaments, disks, or nerves, that we would not be able to see on the
x-ray and therefore, further testing with an MRI of the right shoulder and
lumbosacral spine will need to be done for further evaluation.

Zoran Cupic, M.D.
ZC/sj

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PATIENT: JOHNSON, ELTON
DOB: 01/09/88
TRANSCRIPTION REC #: 33520 - L

07/21/10 FOLLOW-UP VISIT:

The patient returned for follow-up. He still continues to complain of some shoulder
pain on the right side. There was definitely some popping in his shoulder and that
seemed to be bothering him the most. As far as the low back is concerned, he had
some tendemess in the mid line.

ALLERGIES: No known allergies to medications.

On examination, the impingement sign was definitely positive. He could not go into
full external rotation. He could not go into full internal rotation. Forward flexion was
180° on the left and 150° on the right. Abduction was 90° on the left and 80° on the
right. There was some tenderness over the biceps tendon, anteriorly, as well.

Examination of the lumbosacral spine, the patient was well-developed,
well-nourished, and in moderate low back distress. There was tenderness in the mid
line over the L5-S1 area. There was tenderness over both sacroiliac joints. There
was no tenderness over the sciatic notches. He was able to bend forward to about
oe The lateral motion was limited as well. There was some spasm on both
sides.

Neurologically, the patient had a normal heel-to-toe gait. The deep tendon reflexes
at the achilles and patellar areas were present and equal bilaterally. The extensor
halluces longus, anterior tibialis, posterior tibialis, and peroneals were of comparable
strength, bilaterally. The straight-leg raising test was positive bilaterally at about
50-60°, perhaps a little bit more on the right than on the left. The vascular
examination was within normal limits and showed good pulses in both lower

extremities.

Examination of both hips revealed the patient to have a full range of motion. There
was full rotation, good flexion, good extension, good abduction, and good adduction
of both hips. There was no tenderness in the groin area. All the motions tested were

palniess.

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PATIENT: JOHNSON, ELTON
07/21/10 (Continuation...)
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Examination of both knees revealed the patient to have full flexion and full
extension. There was no ligamentous laxity, either medially or laterally. There
was no medial or lateral joint line tenderness. No major swelling could be
elicited.

The MRI of the right shoulder, which was done on 06/23/10, was reviewed. He
had an impingement syndrome, a biceps tenosynovitis, a bursitis, and a
subacromial tendinitis; but there was no evidence of a rotator cuff tear.

The MRI of the lumbosacral spine, which was done on 06/23/10, was reviewed.
There was some straightening of the normal lumbar lordotic curve. There were
some bulging disks at L3-L4; moreso at L4-L5. There was a protrusion that is
more than likely a disk hernlation at L5-S1.

The patient was placed on Relafen 750 mg, to be taken twice a day for the
anti-inflammatory effect; Fexmid 7.5 mg, to be taken three times a day for the
spasm, and Ultracet, two tablets every 6-8 hours for the pain.

The patient was warned about the interaction that can occur between alcohol
and medications.

He is to continue to exercise and return here in 6 weeks for further evaluation.

! discussed the results of the MRI of the shoulder and the MRI of the
lumbosacral spine with the patient and he fully understood what is going on.
I told him that we may have to do arthroscopic surgery of the right shoulder.
We are going to try to avoid doing surgery of his low back because he is only
22 years old, although he may need an L5-S1 laminectomy, diskectomy, and
fusion with instrumentation.

Zoran Cupic, M.D.
ZCisj

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PATIENT: JOHNSON, ELTON
DOB: 01/09/88
TRANSCRIPTION REC #: 33520 - 1

04/06/11 FOLLOW-UP VISIT:

The patient returned for follow-up. He is still having a lot of
back. He is quite paintul in the lumbosacral spine. Most of

burning sensation goes into the right lower extremity but he has none

problems with his Idw
the pain seems to be

on the Jeft side.

This pain and

ALLERGIES: | No known allergies to medications.

The patient is 5’5” tall and he weighs 225 Ibs.

As far as the right shoulder is concerned, he still had some Problems going into a full

range of motion. He still had a positive impingement sign.

Examination of the lumbosacral spine revealed the patient to be eee
well-nourished, and in moderate low back distress. He still had some tenderness j

the mid line, right over the top, in the L5-S1 area. There was tenderness over the
right sacroiliac joint but not so much on the left side, He was able to bend forward
to about 50°. He could not hyperextend. The lateral motion was limited because of

the pain and the spasm.

The siraight-leg raising test was still positive on the right side at about 60-70° and

on the left side at about 80°.

Examination of both hips revealed the patient to have a full range of motion. Ther
was fuJ} rotation, good flexion, good extension, good abduction, and good adductio}
of both hips. There was no tenderness in the groin area, All the motions tested wer

painless.

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PATIENT: JOHNSON, ELTON
04/06/11 (Continuation...)
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We had another long discussion and | explained to him that the lumbosacral
spine MR] that was done on 06/23/10 showed a bulging disk at L3-L4 and
L4-L5, but there was definitely a herniation at L5-S1. | explained to the patient
that because of his age we are trying to avoid the Surgery; but that obviously,
if his pain gets worse and if he gets to a point where he has more bad days
instead of good days, and if the pain becomes really excruciating, then we may
have to consider doing a one-level laminectomy, diskectomy, and fusion with
instrumentation at L5-S1. Obviously, if the pain gets bad enough, then we will
have to consider that at any age.

The other thing that we did discuss is the fact that if he continues to have

problems with the right shoulder, we may need to do arthroscopic surgery and
a subacromial decompression on the right side.

At this point, we are going to give him some Relafen 750 mg, to be taken twice
a day for the anti-inflammatory effect. He was also given some Amrix 15 mg
once a day for spasm.

The Amrix is to be taken at about 6-7 o’clack jn the evening because it peaks
at its most effectiveness about 8 hours later. This will keep the spasm down
to a minimum and last throughout the night to help the patient sleep better.

The patient was warned about the interaction that can occur between alcohol
and medications.

He is to continue to do the exercises and retum here in about 6-8 weeks for
further evaluation.

Zoran Cupic, M.D.
ZC/sj

Elton Johnson
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